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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

in re:
Case No. 01-01139 (JKF)
W.R. GRACE & CO., etal, Jointly Administered
Debtor. Chapter 1]

Hearing Date: 12/15/03 @ 12:00 pm

Objection Deadline: 11/26/03

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NOTICE OF MOTION BY ROYAL INDEMNITY COMPANY
FOR LEAVE TO FILE A LATE PROOF OF CLAIM

PLEASE TAKE NOTICE, that Royal Indemnity Company (“Royal”) has filed a motion
pursuant to 11 U.S.C. § 105(a) and Federal Rule of Bankruptcy Procedure 9006(b), for leave to

file a late proof of claim (the “Motion”).

PLEASE TAKE FURTHER NOTICE, that a hearing on the Motion will be held before
the Honorable Judith K, Fitzgerald on December 15, 2003, at 12:00 p.m., or as soon thereafter as
counsel can be heard, at the United States Bankruptcy Court located at 5490 U.S. Steel Tower,
600 Grant Street, Pittsburgh, PA 15219.

PLEASE TAKE FURTHER NOTICE, that any objections to the relief requested by
the Motion must be in writing and filed with the Court and served upon the undersigned counsel

for Royal so as to be received no later than November 26, 2003.

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PLEASE TAKE FURTHER NOTICE, that if you fail to respond in accordance with

this Notice of Motion, the Court may grant the relief requested by the Motion without any further

notice or hearing.

Dated: November 5, 2003

By:

wGEBAS7 |

Respectfully,

BIFFERA iE & GENTILOTTI

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